                                UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IN RE:                                                          :
RACHEL MORRIS                                                   :     BK. No. 1:20-bk-01526-HWV
                                   Debtor                       :
                                                                :     Chapter No. 13
BANK OF AMERICA, N.A.                                           :
                                   Movant                       :
                           v.                                   :
RACHEL MORRIS                                                   :
                                   Respondent                   :
                                                                :

  OBJECTION OF BANK OF AMERICA, N.A. TO CONFIRMATION OF THE DEBTOR
                          CHAPTER 13 PLAN

          Movant, BANK OF AMERICA, N.A. (hereinafter referred to as "Movant"), by its attorneys Phelan
Hallinan Diamond & Jones, LLP hereby objects to confirmation of the Debtor's Chapter 13 Plan as follows:
          1.               Movant is BANK OF AMERICA, N.A..
          2.               Debtor, RACHEL MORRIS, is the owner of the property located at 11969
WOODLAND DRIVE, FELTON, PA 17322-9069.
          3.               On July 2, 2020, Movant filed Proof of Claim listing the pre-petition arrears as $0.00
and a total debt of $21,896.13. A copy of the Proof of Claim is attached hereto as Exhibit "A" and made a part
hereof.
          4.               The Debtor’s proposed Chapter 13 Plan lists Movant under Part 2, Section E, titled
“Secured claims for which a §506 valuation is applicable.” A copy of the Debtors’ Plan is attached hereto as
Exhibit "A" and made a part hereof. The plan treatment violate 11 USC Section 1322 (b).
          5.               Debtor is attempting to strip off Movant’s secured lien by listing the total collateral
value as $148,000.00 and the amount of superior liens as $167,130.00. 12. If this Court were to determine
however, that Movant’s lien is subject to strip off or cramdown, Movant requests the opportunity to conduct an
appraisal of the subject property and have a Valuation Hearing scheduled, if needed.
          6.               Movant requests that the confirmation of Debtor’s Chapter 13 Modified Plan be denied
in its entirety.
          7.       Movant objects to this treatment of its claim and the proposed valuation of the property under
11 U.S.C. §506.
          WHEREFORE, BANK OF AMERICA, N.A. respectfully requests that this Honorable Court deny
confirmation of the Debtor's Chapter 13 Plan.
                                                Respectfully Submitted,

                                                /s/ Jerome Blank, Esquire
                                                Jerome Blank, Esq., Id. No.49736
                                                Phelan Hallinan Diamond & Jones, LLP
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      EXHIBIT B


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